

ORDER

PER CURIAM.
AND NOW, this 29th day of July, 2004, a Rule having been entered by this Court on May 28, 2004, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Andrew C. Abrams to show cause why he should not be placed on temporary suspension and no response thereto having been filed, it is hereby
ORDERED that Andrew C. Abrams is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E., and he shall comply with all the provisions of Rule 217, Pa.R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
